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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 UNITED STATES OF AMERICA,
                                        CRIMINAL FILE NO.
        v.                              1:06-CR-529-4-TWT
 MAURICIO MEDINA-MOJICA,
   Defendant.


                           OPINION AND ORDER


      This is a criminal action.   It is before the Court on the Report and

Recommendation [Doc. 90] of the Magistrate Judge recommending denying the

Defendant’s Motions to Suppress Evidence of Identification [Docs. 65 & 74]. The

Court approves and adopts the Report and Recommendation as the judgment of the

Court. The Defendant’s Motions to Suppress Evidence of Identification [Docs. 65

& 74] are DENIED.

      SO ORDERED, this 9 day of July, 2007.



                              /s/Thomas W. Thrash
                              THOMAS W. THRASH, JR.
                              United States District Judge
